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                              IN THE UNITED STATES DISTRICT COURT
                               FOR THE SOUTHERN DISTRICT OF IOWA
                                        CENTRAL DIVISION

 PAUL GERLICH and ERIN FURLEIGH,

                   Plaintiff(s),                                                        No. 4:14-CV-264

 vs.                                                                        PLAINTIFFS’ RESISTANCE
                                                                               TO DEFENDANTS’
 STEVEN LEATH, WARREN MADDEN,
 THOMAS HILL, and LEESHA                                                      MOTION TO DISMISS
 ZIMMERMAN,
                                                                                  (Oral Argument Requested)
                   Defendant(s).
                                                 ____________________

        Plaintiffs Paul Gerlich and Erin Furleigh resist Defendants’ Motion to Dismiss and

request that the Motion be denied in its entirety. Plaintiffs base their Resistance on the authority

presented below – their Complaint, when read in its entirety and accepting its factual allegations

as true, states a claim upon which relief can be granted against each and every Defendant.

Because oral argument on this Resistance will assist the Court and the parties in considering the

constitutional issues presented, Plaintiffs seek the opportunity to be heard orally, and good cause

thereby is presented for this request.

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                                             I.         INTRODUCTION
       Defendants’ primary argument supporting their Motion to Dismiss – that no valid First

Amendment claim may arise from their denial of the ability to use Iowa State University (“ISU”)

trademarks – simply misses the point. Defendants violated the basic constitutional rule that

government officials cannot deny a benefit to a group or otherwise restrict its message out of

hostility to the group or disagreement with its speech. Healy v. James, 408 U.S. 169, 185-86

(1972) (the government cannot “deny[] rights and privileges solely because of a citizen’s

association with an unpopular organization”). This rule is so well-established that it does not

matter how the government achieves the prohibited content- or viewpoint-based discrimination.

It is a basic constitutional precept that government officials “‘may not deny a benefit to a person

on a basis that infringes his … freedom of speech even if he has no entitlement to that benefit.’”

Agency for Intern. Dev. v. Alliance for Open Soc’y Intern., Inc., 133 S. Ct. 2321, 2328 (2013)

(emphasis added) (quoting Rumsfeld v. Forum for Academic and Institutional Rights, Inc.,

547 U.S. 47, 61 (2006)); Rosenberger v. Rector & Visitors of the Univ. of Va., 515 U.S. 819, 828

(1995). “The government may not regulate [expression] based on hostility – or favoritism –

towards the underlying message expressed” even where speech is entirely unprotected by the

First Amendment. R.A.V. v. of St. Paul, Minn., 505 U.S. 377, 386 (1992) (for example, “the

government may proscribe libel; but it may not make the further content discrimination of pro-

scribing only libel critical of the government”).

       Yet that is precisely what happened in this case. As the Complaint sets forth in detail, the

Defendants took steps to restrict expression by the ISU chapter of the National Organization for

the Reform of Marijuana Laws (“NORML”), including limits on apparel bearing the group’s



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drug-law reform message, after state officials complained about a news story that described ISU

NORML’s activities. Compl. ¶¶ 31-35. ISU officials summarily replaced the group’s faculty

advisor, id. ¶¶ 36-38, and rescinded prior approval of a t-shirt design that had drawn the state

officials’ ire. Id. ¶¶ 32-34. Defendants then adopted and enforced new University trademark

regulations expressly to restrict NORML ISU’s message. Id. ¶¶ 39-41. Applying those new

regulations, the Defendants rejected two additional NORML ISU t-shirt designs, including one

that stated “NORML ISU Supports Marijuana Legalization.” Id. ¶¶ 47-58.

       Accordingly, this is not, as Defendants try to frame it, simply a “case about Plaintiffs’

desire to use Iowa State University trademarks.” Motion at 3. It is, instead, a case where univer-

sity officials caved to political pressure out of embarrassment and a desire to restrict or control a

student group’s political message. Compl. ¶¶ 31-35. The fact that Defendants used ISU’s trade-

mark approval process as one means to accomplish this illegitimate purpose cannot immunize

them from a First Amendment claim. See, e.g., Hague v. Committee for Indus. Org., 307 U.S.

496, 516 (1939) (otherwise valid regulation violates the First Amendment where it can “be made

the instrument of arbitrary suppression of free expression of views on national affairs”).

       Even if this were a traditional trademark case – which it is not – numerous decisions

make clear that trademarks cannot be “transformed from rights against unfair competition to

rights to control language.” CPC Int’l, Inc. v. Skippy, Inc., 214 F.3d 456, 462 (4th Cir. 2000).

To forestall the possibility that “overextension of Lanham Act restrictions … might intrude on

First Amendment values,” courts have construed the Act narrowly. E.g., Rogers v. Grimaldi,

875 F.2d 994, 998 (2d Cir. 1989). Most importantly for purposes of this Motion, a university

cannot foreclose First Amendment claims simply by crying “trademark.” In cases like this,

courts have held that First Amendment interests outweigh the possibility of confusion in the use




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of university trademarks. See University of Ala. Bd. of Trustees v. New Life Art, Inc., 683 F.3d

1266, 1276-78 (11th Cir. 2012). The same constitutional considerations apply in this case.

                                   II.     BACKGROUND

       Plaintiffs are members of an approved campus organization affiliated with NORML.

Compl. ¶¶ 2, 5, 21-22. Among other political activities, NORML ISU seeks to promote a better

understanding of laws concerning cannabis in the state of Iowa and in the United States at large.

To further this goal, NORML ISU produces t-shirts with messages designed to raise awareness

of the group and its efforts. Id. ¶ 22. However, university guidelines (and design standards)

require NORML ISU to obtain prior approval from the ISU Trademark Office before it can make

the shirts. Id. ¶¶ 25-26. Seeking university approval is not optional if NORML ISU wants to

produce any item that includes the name of the organization. 1

       In November 2012, a lengthy front-page article in the Des Moines Register on efforts to

legalize marijuana discussed efforts by NORML ISU to collect signatures for petitions advo-

cating drug policy reform. The article included a photograph of the then-student president of

NORML ISU wearing a t-shirt that had been approved by the Trademark office. 2 The shirt had

the name of the organization on the front, with the “O” in “NORML” represented by the head of




       1
          The Guidelines for University Trademark Use by Student and Campus Organizations
require that “[t]he recognized name of the organization must appear in the design.” Compl. Ex.
A at 5 (emphasis added). Plaintiffs therefore must request approval under the guidelines for use
of its own “NORML ISU” club name because the “recognized name of the organization”
includes “ISU.” See https://sodb-stuorg.sws.iastate.edu/view-details.php?id=1954.
       2
          Compl. ¶¶ 29, 31. In the article, chapter president Josh Montgomery noted that the
organization was trying to get 600,000 signatures and that NORML ISU “has gotten nothing but
support from the university.” See Sharyn Jackson, Legalized Marijuana: Is Iowa Next? DES
MOINES REGISTER, Nov. 19, 2012 (attached as Ex. 1). Montgomery added that ISU had also
approved the t-shirt at issue.



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ISU mascot “Cy the Cardinal.” Compl. ¶ 8. The text on the back of the shirt read, “Freedom is

NORML at ISU” with an image of a small cannabis leaf above the acronym “NORML.”

       The news story prompted an immediate adverse reaction. State legislators and private

citizens complained to ISU that its mascot had been used on a shirt promoting legalization of

marijuana. Id. ¶ 34; Ex. B, ISU Student Group Banned From Producing More Shirts Using Cy

Logo, DES MOINES REGISTER, Nov. 30, 2012. Fearing this reaction to the perceived political

message might cause a loss of state funding or of alumni donations, Defendants Thomas Hill and

Warren Madden summoned representatives of NORML ISU to a meeting. Compl. ¶¶ 32, 35.

There, Defendants Hill and Madden announced that ISU had rescinded approval of NORML

ISU’s t-shirt design and that its advisor, James Wilson, had been removed. 3 Following these

events, the ISU Trademark Office revised its Trademark Guidelines specifically to address the

situation with NORML ISU, adding a new Section 6(e):

              No designs that use University marks that suggest promotion of the
              below listed items will be approved: dangerous, illegal or
              unhealthy products, action, or behaviors …. [D]rugs and drug
              paraphernalia that are illegal or unhealthful ….

Compl. ¶ 39; Ex. A.

       In February 2013, NORML ISU invited Steven Lukan, Director of the Iowa Office of

Drug Control Policy, to an event on campus.        In the invitation, NORML ISU member

Montgomery encouraged the Director to attend, adding that the group had a new t-shirt design.

Compl. ¶ 42. In response, Lukan complained to Defendant ISU President Steven Leath that

NORML ISU members were still being permitted to advocate marijuana legalization using ISU

       3
           Compl. ¶¶ 32, 36. Because ISU policies require student organizations to have a
faculty advisor, Defendant Hill stepped in as NORML ISU’s “interim advisor.” Id. ¶ 37.
However, Defendant Hill has not relinquished this “temporary” role overseeing NORMAL ISU’s
activities even though ISU psychology professor Eric Cooper became the organization’s perma-
nent faculty advisor in February 2013. Id. ¶ 38.



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trademarks. Id. ¶ 43. This in turn prompted Leath to direct Defendant Hill to address the

situation involving the t-shirt designs. Id. ¶ 44. Defendant Hill then met with the group to

admonish them on behalf of ISU and its President as Leath had directed. Id. ¶ 45.

       Following these events, and in applying the new guidelines, the ISU Trademark Office

approved some proposed t-shirt designs but rejected others. 4 In June 2013 the ISU Trademark

Office rejected a t-shirt design with the slogan “NORML ISU Supports Legalizing Marijuana”

with a cannabis leaf graphic on the front. Compl. ¶ 48. The back of the t-shirt spelled out the

name of the organization: National Organization for the Reform of Marijuana Laws. Id. Defen-

dant Leesha Zimmerman explained that the design was rejected not because of the new guide-

line’s prohibition on messages that purportedly promote illegal or unhealthy behaviors, but

because of its political content.

       Specifically, Defendant Zimmerman told NORML ISU’s faculty advisor Cooper that she

rejected the t-shirt design because:

               T-shirts are like walking billboards to advertise many things. It
               can be an opportunity or failure. You have suggested a T-shirt
               [sic] design with the organization name and the statement
               ‘Legalize Marijuana’ with a graphic cannabis leaf. ‘Legalize
               Marijuana’ is a call to action but it does not suggest any specific
               way your organization is making that happen.

Id. ¶ 50. She also claimed that “[i]t can easily be inferred by the general public that the students

attending Iowa State University want to legalize marijuana for their use and by default, the

university must support the effort.” Id. Defendant Zimmerman further asserted the design had

“a certain shock or attention grabbing sensationalism,” and that the shirts “do not further your



       4
         The Trademark Office approved a design that said “NORML ISU” across the front and
“We are NORML” across the back, and another design on April 15, 2013, that stated “NORML
ISU Student Chapter” on the front. Compl. ¶ 47.



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cause as an advocate for change in the laws or trying to change the publics’ [sic] perception of

marijuana.” Id. ¶ 51.

       In April 2014, the Trademark Office rejected another proposed design, this time claiming

the design violated ISU’s prohibition against promoting “dangerous, illegal or unhealthy

products, actions or behaviors” and “drugs and drug paraphernalia that are illegal or unhealth-

ful.” Id. ¶ 55. This t-shirt design repeated the phrase “NORML ISU” but varied the ink color to

create the outline of a cannabis leaf. Id. ¶ 54 & Ex. C.

       On March 11, 2014, the Foundation for Individual Rights in Education (“FIRE”), a non-

partisan, non-profit, civil rights organization that protects rights of free expression on college and

university campuses, notified President Leath by letter that ISU’s application of its Trademark

Licensing Policy to NORML ISU violated the First Amendment. Compl. ¶ 57. ISU disagreed

that the policy or its enforcement violated the First Amendment. Id. ¶ 58.

                                       III.    ARGUMENT

       The legal standard governing motions to dismiss is daunting. The Court must assume all

facts alleged in the Complaint are true, and must construe it liberally in the light most favorable

to Plaintiffs. Coleman v. Watt, 40 F.3d 255, 258 (8th Cir. 1994); Fusco v. Xerox Corp., 676

F.2d 332, 334 (8th Cir.1982). A Rule 12(b)(6) motion to dismiss must be denied unless it

appears beyond doubt that plaintiff can prove no set of facts which would entitle the plaintiff to

relief. Morton v. Becker, 793 F.2d 185, 187 (8th Cir.1986). While “a complaint must contain

sufficient factual matter, accepted as true, to state a claim to relief that is plausible on its face,”

Ashcroft v. Iqbal, 556 U.S. 662, 663 (2009) (internal quotations and citation omitted), this means

only that plaintiff’s allegations must be sufficient to “allow[ ] the court to draw the reasonable

inference that the defendant is liable for the misconduct alleged.” Cole v. Homier Distrib. Co.,

Inc., 599 F.3d 856, 861 (8th Cir. 2010). Courts must assess the plausibility of each claim with


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reference to the plaintiff’s allegations as a whole, not in terms of the plausibility of each

individual allegation. Zoltek Corp. v. Structural Polymer Grp., 592 F.3d 893, 896 n. 4 (8th Cir.

2010) (internal citation omitted). This inquiry is “a context-specific task that requires the

reviewing court to draw on its judicial experience and common sense.” 5 Defendants here come

nowhere close to meeting this standard.

       A.      The Defendants Have Implemented a Regime of Unconstitutional Viewpoint
               Discrimination in Violation of the First Amendment

               1.      The Motion to Dismiss Does Not Address the Central Allegations of
                       the Complaint

       Defendants’ Motion to Dismiss is premised on fundamental confusion about the nature of

this case. This is not a Lanham Act case in which ISU is seeking to enforce its trademark rights

against someone who has commercially exploited them. Nor is it even a declaratory ruling

action to determine whether ISU holds enforceable rights under the Lanham Act. For that

reason, Defendants’ arguments that Plaintiffs “failed to plead” that the proposed use of ISU’s

marks is a fair use, that such use does not create confusion, or that no alternative avenues of

communication exist, are inapplicable. Motion at 3-4.

       Even if this were a traditional trademark case, the Supreme Court has made clear the

burden is on the party charging infringement “even when relying on an incontestable registra-

tion.” 6 But this is not such a case, as the Complaint makes clear. This is a civil rights claim


       5
           Iqbal, 556 U.S. at 664. In assessing “plausibility,” courts may “consider materials
outside the pleadings, such as materials that are necessarily embraced by the pleadings and
exhibits attached to the complaint.” Mattes v. ABC Plastics, Inc., 323 F.3d 695, 697 n.4 (8th Cir.
2003) (citing Porous Media Corp. v. Pall Corp., 186 F.3d 1077, 1079 (8th Cir. 1999)).
       6
            KP Permanent Make-Up, Inc. v. Lasting Impression I, Inc., 543 U.S. 111, 118 (2004).
Thus, if this were a traditional trademark case it is far from clear ISU could legitimately bar
NORML ISU from producing the t-shirts at issue here. First, nominative uses of a trademark,
i.e., use of a mark to identify or refer to the mark holder’s product, are protected and do not give
rise to any cause of action under trademark laws. See New Kids on the Block v. News Am.


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under the First and Fourteenth Amendments to challenge viewpoint-based discrimination

imposed on NORML ISU as a backlash against the organization’s political positions.

       The adverse actions began after publication of the Des Moines Register article discussing

marijuana legalization generally, which included efforts of NORML ISU to gather petition signa-

tures, and a photo of a NORML ISU t-shirt. This was the catalyst for a series of adverse actions

that included: (1) rescinding approval of the t-shirt design pictured in the article, Compl. ¶¶ 32-

35, 64; (2) removing NORML ISU’s faculty advisor and replacing him with Defendant Hill, id.

¶¶ 36-38, 66; (3) adopting vague and overbroad new Trademark Guidelines targeting NORML

ISU’s expression id. ¶¶ 39-41, 71-89; and (4) applying the guidelines arbitrarily (and incon-

sistently) to restrict NORML ISU’s political message. Id. ¶¶ 47-58, 65. Each of these actions

targeted NORML ISU’s expression based on disagreement with its message.

       Far from being a typical trademark case, the Complaint alleges three counts of constitu-

tional violations – which Defendants’ Motion ignores entirely. Id. ¶¶ 59-89. The fact that some

of the violations were accomplished by Defendants’ manipulation of ISU Trademark Guidelines

cannot insulate them from constitutional scrutiny. Defendants thus miss the point entirely by

arguing Plaintiffs “fail to demonstrate a fundamental right to use ISU’s trademark.” Motion at 4.

       Regardless of whether any such “right” exists, it is undeniable that viewpoint dis-

crimination is “an egregious form of content discrimination,” Rosenberger, 515 U.S. at 829, and


Publ’ns, 971 F.2d 302 (9th Cir. 1992). Second, NORML ISU is not engaging in a commercial
endeavor. Citing Coca-Cola Co. v. Purdy, 382 F.3d 774, 779 (8th Cir. 2004), and Coca-Cola
Co. v. Purdy, 2005 WL 212797, at *3 (D. Minn. Jan. 28, 2005), Defendants argue that marks
cannot be used in “bad faith to promote message, generate publicity, and raise money for a
cause.” Motion at 4-5. However, Plaintiffs’ t-shirts here were not part of a campaign to raise
money for NORML ISU – they were deliberately used by the student group to spread awareness
about its political message. Even if NORML ISU profited in some small way from the sale of
their shirts, speech is not commercial “simply because it concerns economic subjects or is sold
for a profit.” Taucher v. Born, 53 F.Supp.2d 464, 480 (D.D.C. 1999).



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a university, “acting here as the instrumentality of the State, may not restrict speech or

association simply because it finds the views expressed by the group to be abhorrent.” Healy,

408 U.S. at 187-88. The Eighth Circuit applied these foundational principles when it held the

University of Arkansas violated the First Amendment by denying discretionary funding to an

organization of gay students. Gay & Lesbian Students Ass’n v. Gohn, 850 F.2d 361 (8th Cir.

1988).    The court acknowledged the “group ha[d] no right to funding” for its expressive

activities, but held that “when funds are made available, they must be distributed in a viewpoint

neutral manner.” Id. at 366.

         The parallels between this case and Gohn are striking. The Gohn court noted that the

prospect of funding a gay student organization was controversial and that “[e]vents on campus

did not escape the notice of University officials or state legislators” who “were concerned about

the adverse publicity that funding the [gay group] had brought.” Id. at 364. As here, “University

officials were feeling pressure from state legislators not to fund” the gay organization, and one of

the arguments made was that “sodomy is illegal in Arkansas.” Id. at 367-368. The court noted

the group did not advocate sodomy (which, at the time violated Arkansas law), but “even if it

did, its speech about an illegal activity would still be protected by the First Amendment.” Thus,

even if there was no “right” to funding, the Eighth Circuit held “the government may not discri-

minate against people because it dislikes their ideas, not even when the ideas include advocating

that certain conduct now criminal be legalized.” Id. at 368. The same is true of ISU NORML’s

use of university marks, which ISU policies in any event require Plaintiffs to use. See supra 4.

                2.     Defendants Cannot Shield Illegitimate Restrictions on Political Speech
                       by Invoking Trademark Principles

         Defendants’ citation of a few generic trademark cases and their unhelpful statement that

“[t]rademarks are property,” Motion at 3, say nothing about the issues raised in this case. Of



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course trademarks are a form of intellectual property, but numerous courts have cautioned that

the enforcement of such rights must be tempered by First Amendment concerns. Cliff Notes, Inc.

v. Bantam Doubleday Dell Publ’g Grp., Inc., 886 F.2d 490, 495-96 (2d Cir. 1989); E.S.S. Entm’t

2000, Inc. v. Rock Star Videos, Inc., 547 F.3d 1095, 1099-01 (9th Cir. 2008); ETW Corp. v.

Jireh Publ’g Inc., 332 F.3d 915, 918-919 (6th Cir. 2003). Rights granted under trademark law

are more limited than those provided by copyright or patent law, Anheuser-Busch, Inc. v.

Balducci Publ’ns, 28 F.3d 769, 777 (8th Cir. 1994), and “in deciding the reach of the Lanham

Act in any case where an expressive work is alleged to infringe a trademark, it is appropriate to

weigh the public interest in free expression against the public interest in avoiding consumer

confusion.” Cliffs Notes, 886 F.2d at 494. See New Life Art, Inc., 683 F.3d at 1278 (because of

First Amendment concerns “we should construe the Lanham Act narrowly”).

       Defendants cannot suggest that the existence of intellectual property rights empowers a

state university to approve the use of school-held trademarks only by groups it favors, and to

deny such use by those it dislikes. The university could not, for example, allow use of the ISU

mark only by the college Republicans while denying it to the college Democrats (or vice versa),

and none of the dicta that Defendants cite about “alternative channels of communication” or

“likelihood of confusion” could ever legitimize such an abuse of power. See, e.g., Cox v.

Louisiana, 379 U.S. 536, 581 (1965) (Black, J., concurring) (viewpoint-based regulation is

“censorship in its most odious form”).

       Tellingly, none of the cases Defendants cite address the application of trademark law in

the university context, much less in the situation presented here – where the university by

regulation asserts blanket control over the use of the school name, and by extension the name of

affected organizations (e.g., NORML ISU). In this context, Defendants’ citation of Mutual of




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Omaha Ins. Co. v. Novak, 836 F.2d 397 (8th Cir. 1987), for the proposition that trademarks “do

not yield to free speech rights when adequate alternative avenues of communication exist,”

Motion at 3, is entirely inapplicable. Novak was expressly limited to the circumstances of that

case, id. at 402, which was a far cry from the situation here, where school organizations must get

their designs and messages approved by the university if their names include “ISU,” or they plan

to incorporate other school marks. Here, there is no “alternative channel” – NORML ISU must

submit to the university’s approval process if it wants to put its name on a t-shirt, or on any other

item. This process is one of the ways Defendants have exerted illegitimate control over NORML

ISU’s political speech.

       This specialized context of trademark enforcement also undermines Defendants’ claim

that they are simply trying to avoid “consumer confusion,” which is an important purpose of

trademark law. Motion at 4-5. Courts routinely reject efforts by public schools and universities

to restrict student expression based on the argument that the citizenry may confuse permitting

such speech as official endorsement of the expression. Rosenberger, 515 U.S. at 841 (attribution

concern “not a plausible fear”). See Forum for Academic & Inst. Rights, 547 U.S. at 65. Parti-

cularly where all campus organizations must seek approval through the Trademark Office, as is

required here, it is fanciful to suggest that granting use of university trademarks implies agree-

ment with political positions of various student or university groups. Cf. Knights of Ku Klux

Klan v. Arkansas State Highway & Transp. Dep’t, 807 F. Supp. 1427, 1438 (W.D. Arkansas

1992) (Allowing participation in the “Adopt-a-Highway” program “is no more an indication of

support for the Klan and its racist and other policies of intolerance than participation in the

program by NORML and the placing of the sign for that organization indicates that the Arkansas

Highway and Transportation Department advocates the legalization of marijuana.”).




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       As a factual matter, Defendants cannot seriously suggest that their actions are just about

NORML ISU’s t-shirts. Although they have asserted that they took various actions because of

adverse reaction to a photo of a NORML ISU t-shirt in a news story about marijuana legalization

efforts, that article included a statement from NORML ISU’s then president that he was engaged

in a massive petition drive, and that he had gotten “nothing but support from the university.” Ex.

1 at 3. The article also mentioned (and pictured) the shirt that previously had been approved by

the Trademark Office, but it is by no means clear the political reaction and subsequent pressure

on university officials was limited to the apparel. To the extent any purported “confusion” about

the university’s position on marijuana legalization was based on the description of NORML

ISU’s political activities, the adverse treatment of the organization violated the First

Amendment. E.g., Street v. New York, 394 U.S. 576, 589 (1969).

       In any event, Defendants’ claim that they took actions only to avoid any misimpression

about the university’s position on drug policy is impossible to believe under the circumstances. 7

The Defendants summarily removed NORML ISU’s faculty advisor after the news article

appeared and replaced him with Defendant Hill. This adverse action was entirely independent of

any feigned trademark concerns, represents a separate constitutional violation, and undermines

entirely ISU’s rationalizations.

       If the university actually had concerns that members of the public might perceive

institutional support for NORML ISU’s political objectives, it would not have made its Senior

Vice President for Student Affairs the group’s faculty advisor. But Defendant Hill has continued

as NORML ISU’s “interim” advisor, long after the organization obtained a new faculty advisor,


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          If the university harbored any actual concerns in this regard, it has myriad ways to
make its position known. Cf. Forum for Academic & Institutional Rights, 547 U.S. at 60
(“schools remain free … to express whatever views they may have”).



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and has functioned mainly to monitor the group’s activities, implement the new restrictive

trademark policies, and convey criticism to the group from President Leath. Not only do these

actions refute Defendants’ assertion that the university is merely trying to avoid the appearance

of entanglement with NORML ISU, they are constitutionally suspect in themselves.               E.g.,

Holloman ex rel. Holloman v. Harland, 370 F.3d 1252, 1268-69 (11th Cir. 2004) (“verbal

censure” from a school official “cannot help but have a tremendous chilling effect on the

exercise of First Amendment rights”).

       ISU’s claims about “confusion” are entirely implausible, and the actions it has taken

under the trademark policy do nothing to address this issue. ISU has rejected those designs that

drew complaints from government officials, focusing on those that contained slogans promoting

the group and its political message (e.g., “Freedom is NORML at ISU,” “NORML ISU Supports

Legalizing Marijuana), or that used imagery of a cannabis leaf. Compl. ¶¶ 28, 33-35, 48, 54-55.

Nothing in these designs suggests anything about the University’s position. Although Defendant

Zimmerman claimed people might infer that student support for marijuana legalization

necessarily implies “the university must support that effort,” she frankly expressed her actual

concerns in rejecting one of the designs: she thought it represented a “call to action,” that it had

“a certain shock or attention grabbing sensationalism,” and that the design does “not further your

cause as an advocate for change in the laws or trying to change the publics’ [sic] perception of

marijuana.” Id. ¶¶ 50-51. Such justifications have nothing at all to do with “confusion,” and

instead reveal Defendants’ interest in restricting political speech.

       Nor is it possible to take seriously Defendants’ claim that their new trademark guidelines

were adopted not to suppress NORML ISU’s expressive activities, but to avoid linking ISU with

“dangerous, illegal or unhealthy products, actions, or behaviors.”         The Trademark Office




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approved a design by the skeet shooting team depicting Cy the Cardinal holding a musket, see

Complaint Ex. B, despite the fact that there are more than 11,000 gun-related homicides annually

in the United States. See http://www.cdc.gov/nchs/fastats/ homicide.htm. It allows (and even

encourages) ISU marks to be used on football helmets and apparel even though football is linked

to significant numbers of brain injuries. See Ken Belson, Brain Trauma to Affect One in Three

Players, N.F.L. Agrees, NEW YORK TIMES, September 12, 2014. And ISU logos are plastered on

beer mugs and shot glasses, e.g., www.amazon.com/Licensed-Iowa-State-University-Glass/

dp/B00GMAO3A0/ref=sr, notwithstanding the number of college students harmed every year by

binge drinking. See http://www.niaaa.nih.gov/alcohol-health/special-populations-co-occurring-

disorders/college-drinking (“1,825 college students between the ages of 18 and 24 die each year

from alcohol-related unintentional injuries”).    See also Compl. ¶ 86 (describing Trademark

Office approval for use of university marks by ISU Cuffs, the organization promoting alternative

sexual practices, including bondage).

       Given the many items the Trademark Office approves, Defendants’ claim that allowing

the depiction of a marijuana leaf on NORML ISU t-shirts will somehow “promote” dangerous or

illegal behavior is not just wrong – it is ridiculous. See Gohn, 850 F.2d at 368 (funding gay

student organization “does not advocate sodomy”).

       ISU gains nothing from its argument that it did not reject every design proposed by

NORML ISU. The government need not burn every book in the library to be considered a

censor – it just takes one. E.g., United States v. Playboy Entm’t Grp., Inc., 529 U.S. 803, 812

(2000) (“The distinction between laws burdening and laws banning speech is but a matter of

degree.”). Nor does it help Defendants that they offered to “help” NORML ISU find designs the

government finds acceptable. “If there is any fixed star in our constitutional constellation, it is




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that no official, high or petty, can prescribe what shall be orthodox in politics, nationalism,

religion, or other matters of opinion.” West Va. State Bd. of Educ. v. Barnette, 319 U.S. 624, 642

(1943). In this case, the ISU Defendants’ constitutional violations are glaringly obvious.

       B.      Defendants Are Not Entitled to Qualified Immunity

       Defendants’ plea for this Court to dismiss all claims for actions “in their individual

capacities” provides no basis to dismiss this case even if their qualified immunity arguments

were sound. Motion at 6-10. This is because qualified immunity does not preclude suits seeking

declaratory or injunctive relief from defendants in their official capacities. Burnham v. Ianni,

119 F.3d 668, 673 n.7 (8th Cir. 1997) (en banc); D’Aguanno v. Gallagher, 50 F.3d 877 (11th

Cir. 1995). Cf. New York City Health & Hosps. Corp. v. Perales, 50 F.3d 129, 135 (2d Cir.

1995) (qualified immunity does not protect against claims for attorney’s fees or fines ancillary to

prospective relief). Thus, even if the individual capacity claims were dismissed, this case would

continue.

       Defendants’ arguments for applying qualified immunity in this case are fatally flawed on

the merits as well. Qualified immunity must be denied where (1) facts set forth by the plaintiff

make out a violation of a constitutional or statutory right, that (2) was clearly established at the

time of the misconduct. Burton v. St. Louis Bd. of Police Comm’rs, 731 F.3d 784, 791 (8th Cir.

2013); Winslow v. Smith, 696 F.3d 716, 730 (8th Cir. 2012); accord Pearson v. Callahan,

555 U.S. 223, 232 (2009). In this case, both criteria clearly are satisfied.

       It has long been established that a state university president and lower level administra-

tors cannot deny recognition or other benefits to a student group because of concern about the

organization’s political goals. Healy, 408 U.S. at 187-88. Nor may university officials engage in

such viewpoint discrimination by claiming concern that others may equate the views of students

with the state’s official position, Rosenberger, 515 U.S. at 841, or by asserting that students are


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advocating illegal behavior. Gohn, 850 F.2d at 368. It has been the law for many decades that

the government may not deny a benefit based on a person’s constitutionally-protected speech or

associations, even if the person had no “right” to the benefit in the first place. Speiser v. Randall,

357 U.S. 513, 526 (1958). No competent college administrator could be ignorant of these basic

principles. Burnham, 119 F.3d at 74-77 (denying qualified immunity to university chancellor

based on well-established principle that the First Amendment “prevents the government from

proscribing speech of any kind simply because of disapproval of the ideas expressed”).

       Defendants cannot escape these constitutional requirements simply because they

achieved some of their objectives by manipulating their school’s trademark policy. Thus, their

argument that the Complaint “fails to identify a case where university officials violated the free

speech rights of student organization members by denying them a particular use of the univer-

sity’s trademark,” Motion at 7, misstates the issue. Moreover, Plaintiffs are not required to cite

all factually and legally analogous cases to satisfy the requirements of Fed. R. Civ. P. 8. The

relevant pleading standard examines whether a complaint contains “sufficient factual matter . . .

to state a claim for relief that is plausible on its face.” Iqbal, 556 U.S. at 678 (citation omitted

and emphasis added). The existence of a “clearly established” constitutional right is a question

of law for the court to decide. Bishop v. Glazier, 723 F.3d 957, 961 (8th Cir. 2013) (citing

Rohrbough v. Hall, 586 F.3d 582, 586 (8th Cir. 2009)).

       Even if the particular action in question has not previously been held unlawful, “[a]

general constitutional rule already identified in the decisional law may apply with obvious clarity

to the specific conduct in question.” Shekleton v. Eichenberger, 677 F.3d 361, 367 (8th Cir.

2012) (internal editing omitted). See Glik v. Cunniffe, 655 F.3d 78, 85 (1st Cir. 2011). Thus,

“the unlawfulness must merely be apparent in light of preexisting law, and officials can still be




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on notice that their conduct violates established law even in novel factual circumstances.”

Nelson v. Corr. Med. Servs., 583 F.3d 522, 531 (8th Cir. 2009) (en banc) (internal citation and

quotation marks omitted). In this case, there was ample precedent that Defendants were acting in

violation of well-established principles of constitutional law. Gohn, 850 F.2d at 367-368. See

also Compl. ¶ 57 (Defendants were put on notice of controlling constitutional principles).

       Likewise, Defendants’ argument that individual capacity claims against President Leath

should be dismissed based on qualified immunity is erroneous. Motion 9-10. Contrary to the

premise of this argument, liability is not predicated on a respondeat superior theory of super-

visory responsibility, but on Defendant’s Leath’s direct actions. See Compl. ¶¶ 43-44, 57. In

this regard, it is well-established that a university president cannot hide behind qualified

immunity when he participates in retaliatory acts in response to student speech. E.g., Barnes v.

Zaccari, 669 F.3d 1295, 1103-06 (11th Cir. 2012). See Holloman, 370 F.3d at 1279-82.

       C.      Defendants’ Sovereign Immunity Argument Lacks Merit

       Defendants also cannot escape liability on the basis of sovereign immunity. Defendants

Madden and Zimmerman are sued in both their individual and official capacities. Accordingly,

no Eleventh Amendment immunity applies to Plaintiffs’ request for damages in Count I of the

Complaint. See, e.g., Thomas v. Gunter, 32 F.3d 1258, 1261-62 (8th Cir. 1994). Cf. Bakhtiari v.

Lutz, 507 F.3d 1132 (8th Cir. 2007) (state university officials entitled to sovereign immunity in

§ 1981 and § 1983 claims if not sued in individual capacity). Moreover, Counts II and III of the

Complaint, which assert facial challenges, are addressed to the Defendants in their official

capacities and are limited to requests for prospective, injunctive relief. Accordingly, sovereign

immunity has no application in these respects. Ex parte Young, 209 U.S. 123 (1908).




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       D.      Exhaustion Is Not Required Under Section 1983

       Defendants’ argument that Plaintiffs’ procedural due process claims should be dismissed

is mystifying because the Complaint contains no such claims.         Count I alleges as-applied

violations of Plaintiff’s First and Fourteenth Amendment rights to free expression; Count II is a

facial challenge to ISU’s trademark policies based on overbreadth; and Count III is a facial

challenge to ISU’s trademark policies based on vagueness. Accordingly, Defendants’ argument

that procedural due process claims require exhaustion of state remedies before filing in federal

court simply does not apply to this case. 8

       Section 1983 provides every citizen with a federal civil remedy for the violation of

federal rights and allows immediate access to federal court without any requirement that state

remedies be exhausted. The Supreme Court has held that “exhaustion of state administrative

remedies should not be required as a prerequisite to bringing an action pursuant to § 1983.”

Patsy v. Board of Regents of the State of Fla., 457 U.S. 496, 516 (1982). See also Steffel v.

Thompson, 415 U.S. 452, 472–73 (1974) (“When federal claims are premised on [§ 1983] … we

have not required exhaustion of state judicial or administrative remedies, recognizing the

paramount role Congress has assigned to the federal courts to protect constitutional rights.”).

Consequently, Plaintiff’s claims were properly presented to this Court.




       8
           The cases Defendants cite relate solely to the issue of procedural due process and are
thus irrelevant. See Motion at 11-12 (discussing Stephenson v. Davenport Cmty. Sch. Dist.,
110 F.3d 1303, 1312 (8th Cir. 1997); Christiansen v. West Branch Cmty. Sch. Dist., 674 F.3d
927 (8th Cir. 2012)).



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                                     IV.   CONCLUSION

       For the foregoing reasons, Plaintiffs respectfully request this Court to deny Defendants’

Motion to Dismiss in its entirety.

                                            Respectfully submitted,



                                            By     /s/ Robert Corn-Revere

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                                     Certificate of Service

       The undersigned hereby certifies that a true copy of the Plaintiffs’ Resistance
to Defendants’ Motion to Dismiss (Oral Argument Requested) was served upon the
Defendants through the Court’s CM/ECF filing system on the 22nd day of September 2014.


                                                              /s/ Robert Corn-Revere
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